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                               7
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                                    A.G.
                               9
                               10                           UNITED STATES DISTRICT COURT
                               11                          CENTRAL DISTRICT OF CALIFORNIA
                               12
                                    A.G.,                                       )   Case No.:
Northridge, California 91324




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                                                                                )
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                                                         Plaintiff,             )   COMPLAINT FOR:
       (818) 886 2525




                               14                                               )
                                            v.                                  )   BREACH OF THE EMPLOYEE
                               15                                               )   RETIREMENT INCOME
                                    INTEL CORPORATION HEALTH                    )   SECURITY ACT OF 1974;
                               16   PLAN; CIGNA HEALTH AND LIFE                 )   ENFORCEMENT AND
                                    INSURANCE COMPANY,                          )   CLARIFICATION OF RIGHTS;
                               17                                               )   PREJUDGMENT AND
                                                         Defendants.            )   POSTJUDGMENT INTEREST;
                               18                                               )   PENALTIES; AND ATTORNEYS’
                                                                                )   FEES AND COSTS
                               19                                               )
                                                                                )
                               20                                               )
                               21
                               22           Plaintiff, A.G., herein sets forth the allegations of her Complaint against
                               23   Defendants INTEL CORPORATION HEALTH PLAN and CIGNA HEALTH AND
                               24   LIFE INSURANCE COMPANY.
                               25
                               26
                               27
                               28


                                                                        ERISA COMPLAINT
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                               1                             PRELIMINARY ALLEGATIONS
                               2          1.      “Jurisdiction” - This action is brought under 29 U.S.C. §§ 1132(a), (e),
                               3    (f) and (g) of the Employee Retirement Income Security Act of 1974 (hereinafter
                               4    “ERISA”) as it involves a claim by Plaintiff for employee benefits under an
                               5    employee benefit plan regulated and governed under ERISA. Jurisdiction is
                               6    predicated under these code sections as well as 28 U.S.C. § 1331 as this action
                               7    involves a federal question. This action is brought for the purpose of obtaining
                               8
                                    benefits under the terms of an employee benefit plan, enforcing Plaintiff’s rights
                               9
                                    under the terms of an employee benefit plan, and to clarify Plaintiff’s rights to future
                               10
                                    benefits under the employee benefit plan. Plaintiff seeks relief, including but not
                               11
                                    limited to: payment of benefits, prejudgment and post judgment interest, and
                               12
                                    attorneys’ fees and costs.
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                                          2.      Plaintiff, A.G., is a resident of Los Angeles, California and at all times
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                               14
                                    relevant was a resident in the Los Angeles County, California. Therefore, venue is
                               15
                                    proper in this judicial district pursuant to 29 U.S.C. § 1132(e)(2).
                               16
                                          3.      Plaintiff A.G. is a minor and identified by her initials pursuant to
                               17
                                    Federal Rules of Civil Procedure 5.2(a)(3).
                               18
                               19         4.      Plaintiff was at all relevant times a covered dependent under the INTEL

                               20   CORPORATION HEALTH PLAN (the “Plan”) pursuant to which Plaintiff was

                               21   entitled to health benefits.

                               22         5.      Plaintiff is informed and believes that Defendant INTEL
                               23   CORPORATION HEALTH PLAN has its principal place of business in Folsom,
                               24   California, is authorized to transact and is transacting business in this judicial
                               25   district, the Central District of California, and can be found in the Central District of
                               26   California.
                               27         6.      Plaintiff is informed and believes that Defendant CIGNA HEALTH
                               28   AND LIFE INSURANCE COMPANY (“Cigna”) has its principal place of business
                                                                 2
                                                                       ERISA COMPLAINT
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                               1    in Hartford, Connecticut. Cigna is authorized to transact and is transacting business
                               2    in this judicial district, the Central District of California, and can be found in the
                               3    Central District of California.
                               4           7.     Cigna administered benefits under the Plan.
                               5                                 FIRST CAUSE OF ACTION
                               6                  FOR DENIAL OF PLAN BENEFITS UNDER ERISA
                               7           8.     Plaintiff incorporates by reference the foregoing paragraphs as though
                               8
                                    fully set forth herein.
                               9
                                           9.     A.G. is a 14-year old girl with a two year history of a significant eating
                               10
                                    disorder.
                               11
                                           10.    Following summer camp in 2017, A.G. began eating disorder behaviors
                               12
                                    to lose weight. She restricted food, over exercised, and searched the internet for
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                                    ways to lose weight and restrict calories. She lost approximately 17 pounds.
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                               14
                                           11.    In September 2017, due to her low weight, her parents took her to the
                               15
                                    emergency room and she was admitted for medical stabilization and placed on bed
                               16
                                    rest. The hospital recommended residential treatment.
                               17
                                           12.    From October to November 2017, A.G. was admitted to residential
                               18
                               19   treatment.

                               20          13.    From December 2017 to February 2018, A.G. received partial

                               21   hospitalization treatment.

                               22          14.    From February to May 2018, A.G. received intensive outpatient
                               23   treatment. Despite treatment, A.G. suffered a relapse with her eating disorder. Her
                               24   treatment providers recommended residential treatment.
                               25          15.   On approximately June 8, 2018, A.G.’s parents informed A.G. that she
                               26   needed residential treatment. A.G. became unsafe and threatened to harm herself.
                               27   She was admitted to the hospital on a psychiatric hold.
                               28
                                                                                3
                                                                        ERISA COMPLAINT
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                               1          16.    On June 13, 2018, A.G. admitted to residential treatment at Avalon
                               2    Hills Treatment Center (“Avalon”) in Utah. At admission, A.G. had severe
                               3    malnutrition, bradycardia, and orthostatic hypotension. Her diagnoses included
                               4    major depressive disorder recurrent, severe; anorexia nervosa restricting type,
                               5    extreme; generalized anxiety disorder; and attention deficit hyperactivity disorder.
                               6          17.    Cigna initially approved benefits for A.G.’s residential treatment.
                               7          18.    On September 21, 2018, Cigna denied further benefits for A.G.’s
                               8
                                    residential treatment.
                               9
                                          19.    A.G. required further residential treatment due to the severity of her
                               10
                                    multiple mental illnesses. She was highly anxious, her progress had worsened, she
                               11
                                    was unable to self-regulate, was continually dishonest and manipulative with staff,
                               12
                                    and aggressive toward peers. She was still orthostatic, compulsively exercised, and
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                                    hypoglycemic.
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                               14
                                          20.    As of January 1, 2019, A.G. was no longer covered under the Plan.
                               15
                                          21.    On January 19, 2019, Cigna sent a written request for “facility records,
                               16
                                    office notes, and history, physical & diagnostic reports” for A.G.’s residential
                               17
                                    treatment.
                               18
                               19         22.    On February 1, 2019, A.G.’s counsel responded to Cigna’s January 19,

                               20   2019 letter and provided the requested information.

                               21         23.    On March 13, 2019, A.G. submitted a written appeal and treatment

                               22   records to Cigna.
                               23         24.    Defendants did not respond to Plaintiff’s March 13, 2019 appeal.
                               24         25.    Defendants wrongfully denied Plaintiff’s request for benefits in the
                               25   following respects, among others:
                               26                (a)    Failure to authorize and pay for mental health benefits as
                               27                required by the Plan at a time when Defendants knew Plaintiff was
                               28                entitled to such benefits under the terms of the Plan;
                                                                               4
                                                                      ERISA COMPLAINT
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                               1                 (b)   Failure to provide prompt and reasonable explanations of the
                               2                 bases relied on under the terms of the Plan, in relation to the applicable
                               3                 facts and plan provisions, for the denial of Plaintiff’s request for mental
                               4                 health benefits;
                               5                 (c)   After Plaintiff’s requests for benefits were denied in whole or in
                               6                 part, failure to adequately describe to Plaintiff any additional material
                               7                 or information necessary to perfect her requests along with an
                               8
                                                 explanation of why such material is or was necessary;
                               9
                                                 (d)   Failure to properly and adequately investigate the merits of
                               10
                                                 Plaintiff’s requests for mental health benefits and/or provide alternative
                               11
                                                 and medically appropriate courses of treatment;
                               12
                                                 (e)   Failure to provide Plaintiff with a full and fair review pursuant to
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                                                 29 C.F.R.§ 2560.501-1 (h)(3)(iii) by failing to consult with health care
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                               14
                                                 professionals who have appropriate training and experience in the field
                               15
                                                 of medicine involved in the medical judgment; and
                               16
                                                 (f)   Failure to thoroughly and independently evaluate both Plaintiff
                               17
                                                 and her treatment records prior denying Plaintiff’s request for benefits.
                               18
                               19         26.    Plaintiff is informed and believes and thereon alleges that Defendants

                               20   wrongfully denied Plaintiff’s requests for mental health benefits by other acts or

                               21   omissions of which Plaintiff is presently unaware, but which may be discovered in

                               22   this future litigation and which Plaintiff will immediately make Defendants aware of
                               23   once said acts or omissions are discovered by Plaintiff.
                               24         27.    Following the denial of benefits under the Plan, Plaintiff exhausted all
                               25   administrative remedies required under ERISA, and performed all duties and
                               26   obligations on her part to be performed.
                               27         28.    As a proximate result of the denial of benefits due Plaintiff, Plaintiff
                               28   has been damaged in the amount of all of the medical bills incurred for her
                                                                             5
                                                                       ERISA COMPLAINT
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                               1    treatment, approximately $125,000.000, the total sum to be proven at the time of
                               2    trial.
                               3             29.   As a further direct and proximate result of this improper determination
                               4    regarding her request for mental health benefits, Plaintiff, in pursuing this action,
                               5    has been required to incur attorneys’ costs and fees. Pursuant to 29 U.S.C. §
                               6    1132(g)(1), Plaintiff is entitled to have such fees and costs paid by Defendants.
                               7             30.   Due to the wrongful conduct of Defendants, Plaintiff is entitled to
                               8
                                    enforce her rights under the terms of the Plan and to clarify her rights to future
                               9
                                    benefits under the terms of the Plan.
                               10
                                                                SECOND CAUSE OF ACTION
                               11
                                                                  FOR EQUITABLE RELIEF
                               12
                                             31.   Plaintiff incorporates by reference the foregoing paragraphs as though
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                                    fully set forth herein.
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                               14
                                             32.   As a direct and proximate result of the failure of the Defendants to pay
                               15
                                    mental health benefits, and the resulting injuries and damages sustained by Plaintiff
                               16
                                    as alleged herein, Plaintiff is entitled to and hereby requests that this Court grant
                               17
                                    Plaintiff the following relief pursuant to 29 U.S.C. § 1132(a)(1)(B):
                               18
                               19                  (a)    Restitution of all past benefits due to Plaintiff, plus prejudgment

                               20                  and post-judgment interest at the lawful rate; and

                               21                  (b)    Such other and further relief as the Court deems necessary and

                               22                  proper to protect the interests of Plaintiff under the Plan.
                               23                                  REQUEST FOR RELIEF
                               24            Wherefore, Plaintiff prays for judgment against Defendants as follows:
                               25            1.    Payment of health care benefits due to Plaintiff under the Plan;
                               26            2.    Pursuant to 29 U.S.C. § 1132(g), payment of all costs and attorneys’
                               27            fees incurred in pursuing this action;
                               28
                                                                                 6
                                                                         ERISA COMPLAINT
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                               1         3.   Payment of prejudgment and post judgment interest as allowed for
                               2         under ERISA; and
                               3         4.   For such other and further relief as the Court deems just and proper.
                               4
                               5    DATED: June 19, 2019                       KANTOR & KANTOR, LLP
                               6
                               7                                        BY:     /s/ Elizabeth K. Green
                                                                               Elizabeth K. Green
                               8                                               Attorneys for Plaintiff,
                               9                                               A.G.

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                                                                   ERISA COMPLAINT
